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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA

v.                                              Case No. 22-CR-00612

EDWARD CONSTANTINESCU,
     Defendant.


                                       ORDER

      HAVING CONSIDERED the Government's Motion to Modify Conditions of Release as

to Defendant Edward Constantinescu, the COURT ORDERS a hearing on the matter set for

December _________, 2022 at ______AM/PM and for all parties to attend.



       Signed at Houston, Texas this the _____ day of _________________________, 2022.

                                  ____________________________________________
                                  THE HONORABLE CHRISTINA BRYAN
                                  UNITED STATES MAGISTRATE JUDGE




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